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JUN 87 2039
AT BALTIMORE

IN THE UNITED STATES DISTRICT COURBee«. Us cistaict court
FOR THE DISTRICT OF MARYLANBr CS” MARYAND SepUTY

IN THE MATTER OF THE SEARCH OF G D
TWO CELLULAR DEVICES IN THE Case No. / 4 ~ / 57 SH O-
CUSTODY AND CONTROL OF THE

DEPARTMENT OF HEALTH & HUMAN
SERVICES

 

AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

I, Special Agent Erin Fuchs, being first duly sworn, hereby depose and say the following:

1. Tama duly sworn and appointed Special Agent of the United States Department of
Health and Human Services, Office of Inspector General, Office of Investigations (hereinafter
“HHS-OIG”). I make the following statements, based upon information obtained by myself,
other Special Agents of DHHS-OIG, as well as information conveyed to me by other law
enforcement officials and other sources. I have been a Special Agent since December 2006,
currently assigned to the Columbia Field Office where I conduct health care fraud investigations.
I have directed, assisted and/or participated in the preparation and/or execution of federal search
and arrest warrants. This affidavit does not set forth every fact discerned throughout the
investigation; rather, it contains a summary of the investigation to date and sets forth only those
facts that I believe necessary to establish probable cause to search the items described herein. —

2. The facts in this affidavit come from information obtained from other agents and law
enforcement officers, witnesses, my knowledge, training and experience, and personal
observations. This affidavit is intended to show there is sufficient probably cause for the

requested warrant and does not set forth all of my knowledge about this matter,
Case 1:19-mj-01957-SAG Document 3 Filed 06/17/19 Page 2 of 8

Statement of Probable Cause

3. This affidavit is made in support of an application for a warrant to search two cell
phones seized on. September 14, 2018 from Clifton Mosley (collectively the “TARGET
DEVICES”) specifically:

i, One Samsung Phone Model Number SM-G550T1;

ii. One Apple Iphone Model Number A-1660,
for evidence of possession with intent to distribute marijuana in violation of 21 U.S.C. § 841
(hereinafter “TARGET OFFENSE”).

4. On March 5, 2019, a Grand Jury shin in the District of Maryland retumed a true bill
charging Mosley in a Superseding Indictment with possession with intent to distribute marijuana,
in violation of 21 U.S.C. § 841, for the timeframe beginning on a date unknown to the grand jury
but at least as of December 2015, and contning through in or about December 2016. Mosley
was also charged with conspiracy and two substantive counts related to murdering a witness,
both retaliation, in violation of 18 U.S.C. §1513(a\( 1)(B)), and tampering in violation of 18
U.S.C. § 151£2(a)(1)(A), for the murder of Latrina Ashburne on May 27, 2016.

5. On March 6, 2018, law enforcement officers located Mosley at 3009 Wylie Ave in
Baltimore and arrested him on a warrant issued as a result of the Superseding Indictment.

6, I recently learned that the Baltimore Police Department (hereinafter BPD) conducted a
search and seizure warrant on September 14, 2018 at the same address (3009 Wylie Ave) that
resulted in the arrest of Mosley for possession of over 10g of marijuana and possession of
paraphernalia. Honorable Judge Waxman of the District Court of Baltimore City authorized the
BPD warrant on September 12, 2018. A copy of the BPD statement of probable cause for
Mosley’s arrest as sworn to by Det. Jason Dipaola is verbatim as follows (with errors in

original):
Case 1:19-mj-01957-SAG Document 3 Filed 06/17/19 Page 3 of 8

a. At approximately 1220 hours Detective Sanchez and I watched as Clifton Mosley
pulled into the 3000 Block of Wylie Ave and parked his 2002 Infinity Q45
Maryland registration 70W7346. At this time armed with a search and seizure
warrant for both Clifton Mosley’s vehicle and the address of 3009 Wylie Ave,
Baltimore, MD Detective Sanchez, Officer’s Smith, Marsh and Sgt. Ramberg
pulled in front of Mosley’s vehicle and secured him, the vehicle and made entry
into 3009 Wylie Ave. The door to the house was open and the people inside
could hear officers outside, due to Officer safety officers made entry identifying
themselves as Police.

b. Once inside the following people were detained: Wanda Banks who was in the
back upstairs bedroom and John Cheeks who was coming down the steps to see
what was going on outside. At this time Clifton Mosley was brought inside and
all three were read their Miranda Rights by this Detective. All three individuals
acknowledged that they understood their rights.

c. Photographs were taken and thorough search was completed with the following
results: In the vehicle no evidence was recovered. In the dwelling of 3009 Wylie
Ave. the following was recovered and submitted to ECU by this Detective:

i.

In the front left upstairs bedroom (the door was locked and forced open by
Officers during the security sweep) in the night stand was PLASTIC
CONTAINERS CONT. GREEN PLANT MATERIAL APPROXIMATE
WEIGHT 5 GRAMS (SUSPECTED MARIJUANA). In the same room in
the closet was a GREEN AMAZON BAG THAT CONTAINED 6
CLEAR PLASTIC BAGS CONT. GREEN PLANT MATERIAL
APPROXIMATE WEIGHT OF 175 GRAMS (SUSPECTED

MARIJUANA), 4 BLACK PLASTIC BAGS CONT, GREEN PLANT

RESIDUE (SUSPECTED MARIJUANA), 4 CLEAR PLASTIC BAGS
CONT. GREEN PLANT RESIDUE (SUSPECTED MARIJUANA),
MISC. PACKAGING MATERIAL CONSISTING OF EMPTY PILL
BOTTLES, SSANDWICH BAGGIES, LARGER CLEAR PLASTIC
BAGS AND ADDITIONAL HEAT SEALED BAGS AND 2 DIGITAL
SCALES WITH PLANT RESIDUE (SUSPECTED MARIJUANA). Also
seized from the room was the door knob. Clifton Mosley had a set of keys
on his person. These keys were taken and locked and unlocked the front
left bedroom door where all the evidence was seized. Clifton Mosley was
searched and found to have $175.00 U.S. Currency on his person and two
cell phones a Samsung and an Iphone. In the living room area was 4 PILL
BOTTLES CONT. GREEN PLANT MATERIAL APPROXIMATE
WEIGHT 5 GRAMS (SUSPECTED MARIHUANA). All evidence was
collected and submitted to ECU by this Detective. A copy of the sealing
order with an inventory of what was seized was left with John Cheeks.

d. Asamember of the Baltimore City Police Department, I have received 40 hours
specialized training in street level narcotics enforcement. I have also completed
Case 1:19-mj-01957-SAG Document 3 Filed 06/17/19 Page 4 of 8

an 8 hour class of drug identification by Multi jurisdictional drug training task
force. In my 7 years I have made or participated in over 1500 arrests and seizures
of CDS. Ail events occurred in the City of Baltimore State of Maryland.
7. According to Maryland Judiciary Case Search, Mosley plead guilty to possession of 10
grams or more of marijuana on November 26, 2018 and sentenced to six months’ probation.
8. I obtained the cell phones from BPD on May 15, 2019.
9. Based on training and experience, including in reference to the federal prosecution of
Mosley for drug trafficking, I know that cellular telephones may contain evidence of drug
trafficking. Specifically, I know that Mosley has used other cell phones related to the charges in
the Superseding Indictment for drug trafficking. Further, based on my knowledge, training,
experience, and participation in other investigations, | know that suspects engaging in street drug
activity commonly use cellular telephones and social media applications to communicate and in
furtherance of their activities. Often these cellular telephones and social media applications
contain phone numbers, contact information, electronic communications, scans, photos and other
relevant files, including travel information and financial data. Accessing this information is

critical as law enforcement works to identify the full scope of the criminal conduct and identify
possible co-conspirators.

10. BPD seized the TARGET DEVICES as evidence in its drug case against Mosley
but, to my knowledge, the TARGET DEVICES were not searched. Based on the foregoing, |
respectfully submit that there is probable cause to issue a search warrant for the TARGET

DEVICES as further described in Attachment A for the information detailed in Attachment B.

CONCLUSION
11, Based on the facts set forth above, I submit that there is probable cause to believe

that evidence, fruits, and instrumentalities of the violations of the TARGET OFFENSE are
Case 1:19-mj-01957-SAG Document 3 Filed 06/17/19 RP 146
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presently on the TARGET DEVICES further described in Attachment A, which are to be
searched for the items listed in Attachment B.
12. I declare under the penalty of perjury that the foregoing is true and correct to the

best of my knowledge.

I

Special gent Brin Fuchs
United States Department of Health and Human Services

 

Subscribed and Swen before me this day of June, 2019

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Honorable Stephanie A..Gallagher
United States Magistrate Judge

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Case 1:19-mj-01957-SAG Document3 Filed 06/17/19 Page 6 of 8

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ATTACHMENT A — TARGET DEVICES

Two cell phones seized on September 14, 2018 from Clifton Mosley and currently in the
custody of the Department of Health and Human Services, specifically:

i. One Samsung phone model number SM-G550T1; and
il. One Apple iPhone model number A-1660.
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Case 1:19-mj-01957-SAG Document3 Filed 06/17/19 Page 7 of 8

ATTACHMENT B - TARGET DEVICES (ITEMS TO BE SEIZED

All records contained in the items described in Attachment A which constitute evidence of

violations of 21 U.S.C. § 841, as outlined below:

1.

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6.

All image files, audio files, and video files, in whatever format they are stored, including,
but not limited to, those depicting/referencing drugs, and drug paraphernalia. References
to money, payments of money, bank accounts, and/or the exchange/use of anything of
valuable consideration (e.g., vehicles, precious metals, jewelry).

Contact Logs that refer or relate to the user of all numbers on the TARGET DEVICES.
Call logs reflecting date and time of received and sent calls

Any and all records related to the location of the user(s) of the TARGET DEVICES.

For each of the TARGET DEVICE:

a. Evidence of who used, owned, or controlled the devices at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

b. evidence of software that would allow others to control the Devices, such as viruses,
Trojan horses, and other forms of malicious software, as well as evidence of the
presence or absence of security software designed to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence of the attachment to the Devices of other storage devices or similar
containers for electronic evidence;

e. evidence of counter forensic programs (and associated data) that are designed to
eliminate data from the Devices;

f. evidence of the times the Devices were used;

g. passwords, encryption keys, and other access devices that may be necessary to
access the Devices:

h. documentation and manuals that may be necessary to access the Devices or to
conduct a forensic examination of the Devices;

i. contextual information necessary to understand the evidence described in this
attachment.

With respect to the search of any of the items described above which are stored in the form
of magnetic or electronic coding on computer media or on media capable of being read by
a computer with the aid of computer-related equipment (including CDs, DVDs, thumb
drives, flash drives, hard disk drives, or removable digital storage media, software or
memory in any form), the search procedure may include the following techniques (the
following is a non-exclusive list, and the government may use other procedures that, like
those listed below, minimize the review of information not within the list of items to be
seized as set forth herein, while permitting government examination of all the data
necessary to determine whether that data falls within the items to be seized):
Case 1:19-mj-01957-SAG Document3 Filed 06/17/19 Page 8 of 8

a. surveying various file “directories” and the individual files they contain
(analogous to looking at the outside of a file cabinet for markings it contains
and opening a drawer believed to contain pertinent files);

b. “opening” or cursorily reading the first few “pages” of such files in order to
determine their precise contents;

C. “scanning” storage areas to discover and possible recover recently deleted
files;

d. “scanning” storage areas for deliberately hidden files; or

€. performing key word searches or other search and retrieval searches through

all electronic storage areas to determine whether occurrences of language
contained in such storage areas exist that are intimately related to the subject
matter of the investigation.
7. If after performing these procedures, the directories, files or storage areas do not reveal
evidence of the specified criminal activity, the further search of that particular directory,
file or storage area, shall cease.
